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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   LAUREL J. MONTOYA
     Assistant U.S. Attorney
 3   Federal Building Suite 4401
     2500 Tulare Street
 4   Fresno, California 93721
     Telephone: (559) 497-4000
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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,        )    1:07-cr-00269-AWI
                                      )
12                    Plaintiff,      )    STIPULATION TO CONTINUE STATUS
                                      )    CONFERENCE AND ORDER
13        v.                          )
                                      )
14                                    )
     SERGIO SANTACRUZ,                )    Date: November 21, 2011
15                                    )    Time: 9:00 A.M.
               Defendant.             )    Courtroom Two
16                                    )    Honorable Anthony W. Ishii

17

18        IT IS HEREBY STIPULATED by and between the parties through

19   their respective counsel, that the current status conference set

20   for October 24, 2011, at 9:00 a.m., be continued to November 21,

21   2011, at 9:00 a.m. before the Honorable Anthony W. Ishii, United

22   States District Court Judge.

23        The parties further stipulate and agree that the time between

24   October 24, 2011, and     November 21, 2011 be excluded from the

25   calculation of time under the Speedy Trial Act.          The parties

26   stipulate that the ends of justice are served by the Court

27   excluding such time, so that counsel for the defendant may have

28   time necessary for effective preparation, taking into account the

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 1   exercise of due diligence.      18 U.S.C. §§ 3161(h)(7)(B)(iv).

 2   Specifically, the parties additional need time to review the

 3   discovery so offers can be formulated and evaluated.           The parties

 4   stipulate and agree that the ends of justice served by granting

 5   this continuance outweigh the best interests of the public and the

 6   defendant in a speedy trial.      18 U.S.C. §§ 3161(h)(7)(A).

 7   DATED: October 20, 2011                  BENJAMIN B. WAGNER
                                              United States Attorney
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 9                                            By /s/Laurel J. Montoya
                                              LAUREL J. MONTOYA
10                                            Assistant U.S. Attorney

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12   DATED: October 20, 2011                  /S/ Richard Beshwate, Jr.
                                              RICHARD BESHWATE, JR.
13                                            Attorney for Defendant
                                              Sergio Santacruz
14

15                                      ORDER

16        IT IS HEREBY ORDERED, that the Status Conference hearing of

17   October 24, 2011 at 9:00 a.m. be continued to November 21, 2011

18   at 9:00 a.m.   Time shall be excluded to and through that date.

19   For the reasons set forth above, the continuance requested is

20   granted for good cause and the Court finds the ends of justice

21   outweigh the interests of the public and the defendant in a speedy

22   trial.

23   IT IS SO ORDERED.

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     Dated:       October 20, 2011
25   0m8i78                      CHIEF UNITED STATES DISTRICT JUDGE

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